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     Attorneys for United States of America
9
10                                 UNITED STATES DISTRICT COURT
11                              NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN FRANCISCO DIVISION
13   UNITED STATES OF AMERICA,                      )      No. CR 05 - 0483 PJH
                                                    )
14           Plaintiff,                             )
                                                    )      STIPULATION AND
15      v.                                          )      [PROPOSED] ORDER
                                                    )
16   SANDOR LAKATOS,                                )
                                                    )
17           Defendant.                             )
                                                    )
18
19           WHEREAS, the matter is currently set for a hearing on defendant’s Motion to Disclose a
20   Confidential Informant as well as his Motion for Bill of Particulars on Wednesday, March 15,
21   2006, at 1:30 p.m. before this Court;
22           WHEREAS, the defendant had requested and the government did not object, to the
23   defendant’s filing his Motion for Bill of Particulars after February 8, 2006, the original deadline
24   for the filing of defendant’s pre-trial motions;
25           WHEREAS, co-counsel for the government on this matter, C. David Hall, has been out of
26   the District for the week of February 13, 2006 and is not due back until February 21, 2006;
27           WHEREAS, the other co-counsel for the government, Timothy J. Lucey, has been serving
28   as the duty attorney for the United States Attorney’s Office from February 10 through February

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1    17, 2006, and by necessity attending to multiple matters and multiple court appearances beyond
2    his own caseload and outside of his normal duties;
3             WHEREAS, the government has requested five (5) additional days to complete its
4    research and drafting of its responses to defendant’s motions and, furthermore, where the
5    defendant does not object to the additional time requested, in light of the government’s
6    accommodation of the timing of the defendant’s original filings and government’s counsel’s
7    unavailability and/or scheduling conflicts since those papers were filed;
8             WHEREAS, the government is agreeable to defendant’s request for a reciprocal
9    extension to file its replies, if any, to the government’s opposition papers;
10            WHEREAS, the parties’ modification to the schedule, whereby the government will file
11   its opposition papers on or before February 27, 2006, with any replies to be filed by the defendant
12   on or before March 6, 2006, will provide the Court with more than two weeks to review the
13   government’s opposition and nearly ten (10) days to review the defendant’s replies, if any, and
14   does not request a delay or modification to the hearing date now set for March 15, 2006;
15            ACCORDINGLY, the parties hereby stipulate and respectfully request that the briefing
16   schedule as to defendant’s pending motions be modified as follows:
17            The government shall its opposition papers to the defendant’s pending motions on or
18   before February 27, 2006;
19            The defendant shall file its reply papers, if any, to the government’s opposition papers,
20   on or before March 6, 2006.
21          The hearing date for the defendant’s motion shall remain unchanged, and the hearing will
                      22
22   be held on March 15, 2006, at 1:30 p.m. before this Court.
23            IT IS SO STIPULATED.
                                                                      /s/
24   Dated:
                                                           ARTHUR WACHTEL
25                                                         Attorney for Defendant
                                                           SANDOR LAKATOS
26
27
28

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1
                                                    KEVIN V. RYAN
2                                                   United States Attorney
3
                                                                  /s/
4    Dated:
                                                    TIMOTHY J. LUCEY
5                                                   Assistant United States Attorney
6
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7             IT IS SO ORDERED.                        TES D      TC
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9    Dated:
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                                                    IHON.




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